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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION



 GINA RACINE,                                         Case No.: 1:24-cv-13018

                        Plaintiff,
                                                      CERTIFICATION IN SUPPORT OF THE
 v.                                                   MOTION FOR LEAVE TO APPEAR PRO
                                                      HAC VICE
 EXPERIAN INFORMATION SOLUTIONS,
 INC.,

                        Defendant.




       Meir Rubinov, moves for leave to appear Pro Hac Vice in the above matter, to represent

Plaintiff Gina Racine in this action.

       I am neither a Massachusetts resident nor a member in good standing of The Massachusetts

Bar.

       I am a member in good standing before the following courts:

       -   Eastern District of New York;

       -   Southern District of New York;

       -   Southern District of Texas.

       I have not abused the privilege of special admission by maintaining a regular law practice

in Massachusetts.

       I have initially appeared in the last thirty-six months in these cases in state or federal court

in Massachusetts: None.

       I will comply with the federal rules and this Court’s local rules.

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       I am familiar with the Local Rules of the U.S. District Court for the District of

Massachusetts.

       I have paid the fee for special admission or will pay the fee upon granting of the Motion.

       I will register with the Court’s CM/ECF system.

       I affirm the oath, which states:

       I will support the Constitution of the United States. I will bear true faith and allegiance to

the government of the United States. I will maintain the respect due to the courts of justice and all

judicial officers. I will well and faithfully discharge my duties as an attorney and officer of this

Court. I will conduct myself uprightly and according to the law and the recognized standards of

ethics of the legal profession.

       Dated: December 19, 2024




                                               By: /s/ Meir Rubinov
                                               Meir Rubinov, NY Bar No. 6077887
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                                               Attorneys for Plaintiff,
                                               Gina Racine




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